                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

UNITED STATES OF AMERICA                               CASE NO.: 5:20-CR-40-JA-PRL


V.

JOSEPH CATALANO,
___________________________________/

        MOTION AS TO STATUS OF CASE AND NOTICE OF UNAVAILABILTY

       COMES NOW the Defendant, by and through undersigned counsel, hereby notifies this
Honorable Court of the status of this matter, and alleges:


1.     That this matter is set for a status conference hearing on November 20, 2020, in this

       Honorable Court, at 10:00 a.m..

2.     That defense counsel will be in Ohio attending the funeral of a family member and is not

       available to appear in person for court on November 20, 2020.

3.     That this matter will be resolved by a guilty plea.

4.     That counsel has a return flight scheduled to depart Columbus Ohio at 11:55 a.m. on

       November 20, 2020, and could appear by phone for the status conference.

5.     That a plea hearing has been set for November 30, 2020, at 10:30 a.m., before Judge

       Lammens.

6.     That defense counsel is requesting to either be allowed to appear by phone for the

       November 20, 2020, status conference or be excused from it.

7.     The United States Attorney has no objection to the motion.
                                MEMORANDUM OF LAW


        The Honorable Court has the authority to set cases for plea dates and to excuse counsel from
appearing in person for certain hearings.




        WHEREFORE, the Defendant hereby notifies this Honorable Court of the current status of
        this case.




                                   CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on November 17, 2020, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to the following: United States Attorney, further certify that I mailed the foregoing document
and the notice of electronic filing by first-class mail to the following: none.




                                                    /s/ Michael W. Nielsen, Esquire
                                                    _____________________________
                                                    MICHAEL W. NIELSEN, ESQUIRE
                                                    NIELSEN LAW FIRM
                                                    720 West State Road 434
                                                    Winter Springs, Florida 32708
                                                    (407)327-5865 [FAX(407)327-0384]
                                                    Attorney for Defendant
                                                    Florida Bar No.: 0794392
                                                    nielsenlaw@cfl.rr.com
